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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                    )
 DEMETRIUS JOHNSON,                                 )
                                                    )   Case No. 20 cv 4156
           Plaintiff,                               )
                                                    )   Judge Sara L. Ellis
           v.                                       )
                                                    )   Magistrate Judge Heather K. McShain
 REYNALDO GUEVARA, the ESTATE of                    )
 ERNEST HALVERSON, DARRYL DALEY,                    )
 WILLIAM ERICKSON, JOHN HEALY, and                  )
 the CITY OF CHICAGO                                )
                                                    )
           Defendants.                              )   JURY TRIAL DEMANDED

     DEFENDANTS’ OPPOSED MOTION TO EXTEND REMAINING SUMMARY
    JUDGMENT, DAUBERT AND MOTION TO STRIKE BRIEFING SCHEDULES

       Defendants, Reynaldo Guevara, Darryl Daley, Geri Lynn Yanow, as special representative

for William Erickson (deceased), Ernest Halvorsen (deceased), John Healy (deceased), and the

City of Chicago, by their undersigned counsel, respectfully move for an order extending the

remaining summary judgment, Daubert and motion to strike briefing schedules, and state in

support:

       1.         On April 12, 2024, Defendants Halvorsen, Daley, Erickson and Healy moved for

summary judgment on all of Plaintiff’s claims. (Dkt. 311.) Similarly, Defendant City moved for

summary judgment on Plaintiff’s Monell claim (Dkt. 317), and filed two Daubert motions. (Dkt.

326, 327.) Defendant Guevara also moved for partial summary judgment. (Dkt. 309.)

       2.         All Defendants except Guevara sought leave to file their respective memoranda in

support of summary judgment in excess of fifteen pages (15) pages, (Dkt. 312, 318), which the

Court granted. (Dkt. 322.)
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       3.      In accordance with this Court’s summary judgment procedures, the Parties

submitted Joint Statements of Undisputed Material Facts, one which relates to the underlying

investigation (Dkt. 313), and the other which relates to Plaintiff’s Monell claim. (Dkt. 320.) The

Joint Statement of Undisputed Facts related to the underlying investigation totaled 139

paragraphs (Dkt. 313), and the Joint Statement of Undisputed Facts related to Plaintiff’s Monell

claim totaled 296 paragraphs. (Dkt. 320.)

       4.      On May 8, 2024, Plaintiff filed an unopposed motion for extension of time

requesting a four-week extension to June 10, 2024 to file his responsive briefs to Defendants’

motions for summary judgment and Daubert motions, (Dkt. 331), which the Court subsequently

granted. (Dkt. 333.) The Court revised the summary judgment and Daubert briefing schedule as

follows: Plaintiff's responses are due by 6/10/2024 and Defendants' replies are due by 7/19/2024.

(Dkt. 333.)

       5.      Thereafter, on June 11, 2024, Plaintiff filed a single, consolidated response in

opposition to Defendants’ motions for summary judgment totaling 168 pages, and a Statement of

Additional Disputed Facts which includes 475 paragraphs and 66 sub-paragraphs, amounting to

541 paragraphs in total. (Dkt. 340.) Approximately 283 of the paragraphs are directed towards

the Individual Defendant Officers; the remaining 258 paragraphs (inclusive of sub-paragraphs)

are directed towards the City. (Dkt. 340.)

       6.      In support of his memorandum in opposition to Defendants’ motions for summary

judgment, Plaintiff filed 294 exhibits totaling approximately 20,208 pages. (Dkt. 339, 339-1—

339-20.)

       7.      Plaintiff’s responses to Defendant City’s Daubert motions are 40 pages for the

Tiderington response (Dkt. 338) and 46 pages for the Steblay response. (Dkt. 336)




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       8.      On June 11, 2024, Plaintiff filed a motion for leave to file instanter excess pages

and statement of fact, specifically requesting leave to file his 168-page consolidated response to

Defendants’ motions for summary judgment and oversized Daubert responses. (Dkt. 342.)

       9.      Defendants filed a response in opposition to Plaintiff’s motion and informed the

Court that Defendants intended to file a motion to strike Plaintiff’s Statement of Disputed Facts.

(Dkt. 345.)

       10.     On June 17, 2024, over Defendants’ objection (Dkt. 345), the Court granted

Plaintiff’s motion for leave to file instanter, however, in doing so, the Court stated: “The Court

notes that it has discussed the summary judgment briefing process with the parties ad nauseum.

The entire point of the Court’s process is to avoid motions to strike or inefficient use of the

Court’s and parties’ time. While Plaintiff is free, and in fact encouraged, to bring disputed facts

to the Court’s attention that warrant a denial of summary judgment, the Court finds it hard to

believe that it must sift through almost 500 statements of fact in order to do so. Nevertheless, the

Court will rule on what the parties present and also impose any warranted sanctions for failing to

follow the Court’s clear directives.” (Dkt. 347.) The Court sets the following briefing schedule

on Defendants' motion to strike: Defendants' motion to strike is due by July 19, 2024; Plaintiff's

response is due by August 2, 2024; and Defendants' reply is due by August 9, 2024. (Dkt. 347.)

       11.     While Defendants are mindful of the Court’s ruling granting Plaintiff’s motion,

and have worked as expeditiously as possible on preparing responsive pleadings, in order to

complete well-crafted, researched and supported pleadings in response to Plaintiff’s 168-page

consolidated response (Dkt. 341) and 541 paragraphs of disputed facts (Dkt. 340), and provide a

targeted reply that will assist this Court in deciding the critical issues, Defendants need additional

time and respectfully request until August 9, 2024 to file their response pleadings.




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       12.     Plaintiff dedicates approximately 126 pages of his 168-page consolidated

response towards the Individual Officer Defendants (Dkt. 341) with the remainder directed in

response to the City’s arguments. See generally, id. Plaintiff’s 126-page response is three times

longer than the Individual Officer Defendants’ 42-page memorandum in support of summary

judgment. (Dkt. 323.)

       13.     In addition, while simultaneously preparing a reply to Plaintiff’s 168-page

consolidated response brief, Defendants will also have to review all 559 paragraphs of Plaintiff’s

additional statement of disputed facts and cull through the 294 exhibits Plaintiff cites to for

evidentiary support— a task that is tremendously labor intensive, challenging, and tedious.

       14.     Moreover, the City must file a reply in support of its two Daubert motions and

build in time for the City’s internal client review and approval, in addition to defense counsels’

other professional obligations. Defense counsel are actively involved in continued summary

judgment briefing in Rios v. Guevara, et. al., No. 22-CV-03973 and Maysonet v. Guevara, et al.,

No. 18-CV-2342.

       15.     On July 15, 2024, Defense counsel reached out to Plaintiff’s counsel via email

regarding the substance of this Motion who opposes this motion.

       WHEREFORE, Defendants respectfully request an extension of time to file their replies

and motion to strike, up to and including August 9, 2024.




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Dated: July 15, 2024                             Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I, Josh M. Engquist, certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that
the foregoing is true and correct, that on Monday, July 15, 2024, I electronically filed the
foregoing Defendants’ Opposed Motion to Extend Remaining Summary Judgment,
Daubert, and Motion to Strike Briefing Schedules with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to the attorneys of record on the
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